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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

FINJAN LLC,                               )
                                          )   Redacted:
               Plaintiff,                 )   Public Version
                                          )
   v.                                     )   C.A. No. 20-371-LPS
                                          )
TRUSTWAVE HOLDINGS, INC. and              )   CONFIDENTIAL –
SINGAPORE TELECOMMUNICATIONS              )   FILED UNDER SEAL
LIMITED,                                  )
                                          )
               Defendants.                )


                 FINJAN LLC’S REPLY BRIEF IN SUPPORT OF ITS
                     MOTION TO DISMISS AND TO STRIKE



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Dated: January 29, 2021




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          Trustwave strains to create an argument that is: (1) absent from the face of the parties’

Amended and Restated Patent License Agreement (the “2012 Contract”); and (2) is prohibited by

the express terms of the 2012 Contract. Trustwave does not have a patent license to U.S. Patent

No. 8,141,154 (the “’154 Patent”).

          Trustwave cannot rebut the plain meaning of the express terms in the 2012 Contract, which

granted a license to certain “Licensed Patents” in Exhibit A. The ’154 Patent does not meet the

criteria for “Licensed Patents”, as it does not claim priority from any of the Exhibit A patents or

patent applications, and is not a continuation, continuation-in-part, division, renewal, revival,

substitution, reissue, reexaminations, extension of any kind, or counterpart of the listed Exhibit A

patents or applications. See D.I. 36 (Countercl.) ¶¶ 23-25. Trustwave spends most of its

Opposition citing extrinsic evidence, which is expressly prohibited by the 2012 Contract and

Delaware law from varying the agreed-upon terms. D.I. 54, (“Opp’n”). Trustwave cannot

retroactively rewrite the 2012 Contract almost ten years later to grant itself a license to the ’154

Patent.

          TRUSTWAVE’S ALLEGATIONS ARE DEFICIENT

          A.     Trustwave’s Allegations Do Not Relate to the ’154 Patent

          Trustwave’s deficient claims all stem from the 2012 Contract, which does not include

the ’154 Patent. Trustwave did not allege all elements necessary for a breach of contract

counterclaim related to the ’154 Patent since it is not listed in the 2012 Contract. See Opp’n at 8-

9. At a minimum, Trustwave failed to plead the existence of a contract concerning the ’154 Patent,

or Finjan’s breach of any obligation that such an agreement involving the ’154 Patent imposes.

See D.I. 36 (Countercl.) ¶¶ 32-38 (citing the 2012 Contract). Nor did Trustwave allege all elements

necessary to give notice of affirmative defenses related to the ’154 Patent for license, legal

estoppel, or patent exhaustion, as it cited no facts related to the ’154 Patent. See id., at p. 23-28.
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Trustwave’s Counterclaim and related Affirmative Defenses fail.

       Trustwave admits that the ’154 Patent is not listed in the 2012 Contract. Opp’n at 3 (“the

’154 Patent is not listed as a Licensed Patent”). The 2012 Contract, as the “sole source for gaining

an understanding of intent,” is “plain and clear on its face” that it does not include the ’154 Patent

(in Exhibit A). See Opp’n at 10 (citing Choupak v. Rivkin, No. 7000 VCL, 2015 WL 1589610, at

*18 (Del. Ch. Apr. 6, 2015) (quoting City Investing Co. Liquid Tr. v. Cont’l Cas. Co., 624 A.2d

1191, 1198 (Del. 1993)). Trustwave does not respond to the Contract’s straightforward restriction

that defines “Licensed Patents” as only those listed in Exhibit A to the Contract (which does not

include the ’154 Patent):

       •    “‘Licensed Patents’ means the (a) patents and the patent applications, including,

            without limitation, provisional applications, listed on Exhibit A hereto . . . .” 2012

            Contract (D.I. 36-1), at § 1.7 (emphasis in original);

       •    a transferee receives no rights to “any other patent of Licensor [Finjan] prior to the

            effective date of the Transfer.” See id. § 2.4; and

       •    “Nothing herein shall be deemed as granting by implication, estoppel or otherwise

            any licenses or rights to Licensees or any other Person and the Licensor hereby

            reserves all its rights with respect to all tangible and intangible property rights not

            expressly granted herein, including without limitation, patents or other intellectual

            property rights of Licensor.” See id. § 2.1.1 (emphasis added).

       B.      Trustwave Did Not Receive an “Unqualified Product License” Broader Than
               the License to the “Licensed Patents”

                       The “Integrated Licensed Products and Services” Are Not Licensed to
                       the ’154 Patent

       Trustwave insists that it has an “express license to sell the Accused Products royalty free,



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including under the ’154 Patent.” Opp’n, at 10. Trustwave relies heavily on its new theory. See

id. at 3, 12-17. Trustwave’s improper arguments can be summarized as follows:

       •   the contracting parties allegedly “introduced” an “entirely new class of products” as

           “Integrated Licensed Products and Services”;

       •   this allegedly “entirely new class of products” is “broader” than the “Licensed Patents

           and Services”;

       •   this allegedly “entirely new class of products” is “not limited by, or linked to, the

           Licensed Patents”; and

       •   “Trustwave’s rights to use, modify, and exploit the special class of Integrated

           License[d] Products and Services is separate from the Licensed Patents”.

       Trustwave’s fanciful theory contradicts the plain meaning of the 2012 Contract granting a

license only to Exhibit A patents. 2012 Contract (D.I. 36-1), Ex. A. As part of that license, Finjan

granted a license to only the Exhibit A patents for “Integrated Licensed Products and Services.”

2012 Contract (D.I. 36-1) (expressed in §§ 1.5, 1.6, 1.7, 1.9, 1.11, 2.1.1 and 2.4). The use of the

phrase “Integrated Licensed Products and Services” was simply a way for Trustwave to extend its

existing license of the Exhibit A patents to products that integrated M86’s legacy products

(“Parent’s Existing Products and Services”), nothing more. See id., § 1.5 (“‘Integrated Licensed

Products and Services’ means products and services of Licensee and/or any Affiliate, and may

include the Licensed Products and Services, in which Parent’s Existing Products and Services

have been integrated.”) (emphasis added); id. § 1.11 (“Parent’s Existing Products and Services”

are limited to “products and services” and “modifications, updates and/or other changes . . . . whose

manufacture, use or sale would infringe, contribute to, or induce the infringement of at least one

valid claim of a Licensed Patent or which is manufactured using a Licensed Method or when used


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performs a Licensed Method.”) (emphasis added).

       These products enjoy the same limited license to Exhibit A patents as all other products in

the 2012 Contract and not more. Trustwave’s pleading admits that Finjan is correct that § 1.5’s

definition of “Integrated Licensed Products and Services” incorporates § 1.11, defeating its own

argument. See D.I. 36 (Countercl.) ¶ 16. Trustwave never received any rights to the ’154 Patent.

       Trustwave’s erroneous theory rests on the assumption that the parties would have agreed

to license specific, enumerated patents listed in Exhibit A in § 1.7 (Licensed Patents), and then

licensed all other unidentified Finjan patents merely because the parties amended the 2012

Contract to allow Trustwave to “integrate” legacy M86 products with Trustwave’s products. See

Opp’n, at 12-14. Trustwave argues points to the definition of “Integrated Licensed Products and

Services” in § 1.5 and argues that the statement that this term “may include the Licensed Products

and Services” means that it is “not limited by, or linked to, the Licensed Patents.” See Opp’n at

13-14 (emphasis added). This contention is specious; to adopt Trustwave’s interpretation would

render the list of licensed patents in Exhibit A superfluous. Nowhere can Trustwave allege it

received a license to the ’154 Patent. Opp’n at 3 (“the ’154 Patent is not listed as a Licensed

Patent”).

                       Trustwave’s Opposition Attempts to Rewrite the Contract

       Trustwave’s theory falls flat on its face because the ’154 Patent was published and issued

before the 2012 Contract was signed. It is not related to any of the Exhibit A patents. If the parties

had wanted to create a “special class of products” that included a license to the ’154 Patent (or any

other unrelated patent), it could have done so, just as it did under § 1.7 of the 2012 Contract and

Exhibit A thereto.

       Trustwave merely speculates as to the parties’ intent in order to avoid the plain language

of Exhibit A. Trustwave tries and fails to introduce “ambiguity” or “two interpretations” of the
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2012 Contract, but the express language shows that no change ever eliminated the express

limitation to “Licensed Patents” across many sections of the 2012 Contract. See id.; Ex. 4 (redlined

changes between 2009 and 2012 versions of the Contract).

       To support Trustwave’s deficient argument, Trustwave selectively quotes § 2.1.1(c),

ignoring §§ 2.1.1(a), (b) and (c), which all grant the same limited license to the “Licensed Patents.”

See Opp’n, at 11-13, 15-16 (disregarding the plain language of § 2.1.1 that Trustwave gets a limited

license to (a) Licensed Products and Services; (b) Licensed Methods; and (c) Integrated Licensed

Products and Services).      Trustwave’s argument contradicts its own Counterclaim that the

“Integrated Licensed Products and Services” in § 1.5 are a “subset” of the “Licensed Products and

Services” in § 1.8. See D.I. 36 (Countercl.) ¶¶ 15-16. 1 The parties never broadened the license to

include the ’154 Patent, and Trustwave’s argument fails.

       C.      Trustwave’s Warranty Claim is Flawed

       Trustwave also alleges that § 4.1(c)’s warranty provision excuses any infringement of the

’154 Patent or, by extension, any other Finjan patents that “dominate the Licensed Patents or are

known to be required to practice the subject matter of the Licensed Patents.” See Opp’n at 17-18

& n.10. This argument also fails for at least two reasons.

       First, Trustwave’s Counterclaim is insufficient as a matter of law because Trustwave has

not alleged that any claims of the ’154 Patent “dominate” or cover or otherwise relate (family-

wise) to the subject matter of any patents in Contract Exhibit A. Courts have stated that the term

“dominates” requires comparing the claim scope of the patents, which Trustwave has not done.



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  Section 1.8 of the 2012 Contract similarly states: “‘Licensed Products and Services’ means any
product or service which is branded under Licensee’s and/or its Affiliates’ trademarks or brands,
and whose manufacture, use or sale would infringe, contribute to, or induce the infringement of
at least one valid claim of a Licensed Patent or which is manufactured using a Licensed
Method or when used performs a Licensed Method.” (emphasis added).
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See, e.g., Siemens Med. Sols. United States, Inc. v. Saint-Gobain Ceramics & Plastics, Inc., 647

F.3d 1373, 1374 (Fed. Cir. 2011).

       In fact, it would be futile for Trustwave to amend its Counterclaim because the ’154 Patent

does not dominate or cover any licensed patents in Contract Exhibit A. The ’154 Patent claims a

method of protecting computers from malicious code by sending downloaded content to a remote

security computer for analysis. See, e.g., D.I. 1-1 at cl.1. The other licensed patents involve

different subject matter, such as using security profiles to inspect content. The ’154 Patent

discloses and claims a new and fundamentally different topology for ensuring internet security at

the client computer without compromising the integrity of the client computer. The ’154 Patent

enables this by (1) having the client computer forward downloaded content to a remote security

computer; and (2) having the remote security computer (with a safer environment) analyze the

content for maliciousness. None of the patents in Exhibit A to the 2012 Contract require or focus

on this subject matter. The ’154 Patent is not related to any of the Exhibit A patents, so this

argument fails.

       Second, even if there were a breach of § 4.1(c) (there is not), Trustwave provides no legal

support for its belief that a breach would entitle Trustwave to a license to the ’154 Patent, or any

other Finjan patents. Trustwave identifies no Contract provision that grants rights to any patents

in the event of such a violation, and the Counterclaim states no grounds for that relief. See

Genencor Int’l, Inc. v. Novo Nordisk A/S, 766 A.2d 8, 14 (Del. 2000) (“Since paragraph 2.2(a)

gives no affirmative rights in unpublished patents—indeed, does not even mention them—it would

be unreasonable to grant an affirmative right to the omitted patent under paragraph 2.2(a) as a

matter of fulfilling the parties’ expectations.”); Future Fibre Techs. Pty. Ltd. v. Optellios, Inc.,

C.A. No. 09-346, 2011 U.S. Dist. LEXIS 90548, at *19 (D. Del. Aug. 15, 2011) (Dazell, J.)



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(denying motion to bar patent claims that issued after settlement agreement).

       Critically, while Trustwave claims that Finjan knew the scope of the ’154 Patent’s claims

by the effective date of the Contract (see Opp’n at 11), Trustwave does not respond to Finjan’s

arguments that Trustwave also knew (or should have known) about the ’154 Patent and its

published claims and could have asked to include it (or other Finjan patents) in the Contract, but

chose not to. At no point—even after Singtel acquired Trustwave—did it seek to modify the

Contract to include the ’154 Patent or any others.

       D.      Trustwave Cannot Use Extrinsic Evidence to Interpret the 2012 Contract

       As stated above, the 2012 Contract prohibits using extrinsic evidence. Trustwave’s

Opposition does not address § 6.5 of the 2012 Contract, the merger clause that expressly states the

Contract “may be amended, supplemented or changed only by written agreement of the parties

hereto, and any provision hereof can be waived, only by written instrument making specific

reference to this Agreement signed by the party against whom enforcement of any such waiver is

sought.” 2012 Contract (D.I. 36-1), § 6.5. After-arising extrinsic statements in wholly different

contexts do not modify the scope of patents in the Contract or cede any rights to Trustwave.

       Trustwave’s cited extrinsic evidence cannot vary Delaware law and the plain meaning

expressed in §§ 1.7, 1.9, and 2.1.1 (and other sections) that govern the 2012 Contract. “[E]xtrinsic

evidence is not to be used to interpret contract language where that language is plain and clear on

its face.” See Future Fibre Techs., 2011 U.S. Dist. LEXIS 90548, at *11 (quoting O'Brien v.

Progressive N. Ins. Co., 785 A.2d 281, 289 (Del. 2001) (internal quotation marks omitted)).

       Trustwave’s reliance on a licensing negotiation e-mail (Exhibit 5 D.I. 36-1) is wholly

misplaced. Neither Finjan nor Trustwave believed that Trustwave possessed a license to all of

Finjan’s cybersecurity patents.     First, the communication is marked “CONFIDENTIAL |



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SUBJECT TO FRE 408,” and is therefore not admissible “to prove or disprove the validity or

amount of a disputed claim.” Fed. R. Evid. 408(a). Second, the “product mapping” does not prove

that the ’154 Patent is part of the Contract, or that Trustwave received a “product” license to all

Finjan patents based solely on the e-mail’s reference to “products.” These allegations fail as a

matter of law because Trustwave has not alleged a written and executed agreement modifying the

Contract’s terms or a waiver of the Contract’s integration clause. See J.C. Trading Ltd. v. Wal-

Mart Stores, Inc., 947 F. Supp. 2d 449, 454-55 (D. Del. 2013) (Andrews, J.) (upholding integration

clause that required changes in writing).

       Next, Trustwave’s arguments about Finjan’s extrinsic, non-binding statements in other

proceedings repeat portions of the Counterclaim without addressing Finjan’s arguments, simply

dismissing them as “no explanation.” Opp’n at 20. Trustwave is wrong. Finjan explained in its

opening brief why neither set of statements overrides the plain language of the Contract and gives

Trustwave any rights to the ’154 Patent. See D.I. 48 at 14-16. The first quoted statement comes

from Finjan’s damages expert in a different, earlier case. At most, that testimony refers to a

separate, unidentified agreement and generally states that Finjan has granted portfolio licenses

before. Finjan’s damages expert, who was neither retained nor authorized to rewrite Finjan’s

contracts, did not state that Trustwave received a license to the ’154 Patent, or specifically

reference the Contract; nor does Trustwave explain how such an after-arising statement can alter

the terms of the Contract. The second quoted statements are from Patent Owner Preliminary

Responses in IPRs and indicate that Finjan has licensed certain patents to multiple companies, to

address secondary considerations of non-obviousness. Those statements arose years after the

Contract. Trustwave offers no legal rationale for how such statements can modify the Contract.

       E.      Trustwave’s Affirmative Defenses are Deficient

       For the same reasons that its Counterclaim fails, Trustwave’s Eleventh, Twelfth, and
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Thirteenth Affirmative Defenses are also fatally flawed. The disputed Affirmative Defenses rely

on the same allegations as the Counterclaim, and fail to give notice of the facts in support of their

separate affirmative defenses. Trustwave’s Eleventh Affirmative defense of “license” is almost

identical to its Counterclaim and identifies no specific license to the ’154 Patent. Compare D.I.

36 (Ans.) at 23-24, with id. (Countercl.) ¶¶ 12-18. The Twelfth Affirmative Defense of “legal

estoppel” also mirrors the license allegations, citing the same Contract provisions, which fail to

allege the elements of legal estoppel related specifically to the ’154 Patent, as required. See Endo

Pharm., Inc. v. Actavis, Inc., 746 F.3d 1371, 1378 (Fed. Cir. 2014) (limiting legal estoppel to where

one of the “asserted patents is a continuation of any of the licensed patents”); D.I. 36 (Ans.) at 25-

26. Finally, the Thirteenth Affirmative Defense of “patent exhaustion” also relies on purported

licenses to the ’154 Patent, without identifying any such licenses for the ’154 Patent or basis for

asserting that Finjan’s other licenses include that patent. See D.I. 36 (Ans.) at 28. Contrary to

Trustwave’s argument that this defense “describes extensive licensing of the ’154 patent” (Opp’n

at 7 n.7), Trustwave did not identify any authorized sales involving the ’154 Patent, failing to state

facts to support this defense. See Auto. Body Parts Ass’n v. Ford Global Techs., LLC, 930 F.3d

1314, 1322 (Fed. Cir. 2019) (exhaustion requires “[a]n authorized sale”).

       Trustwave’s arguments about the pleading standards for affirmative defenses are also

misplaced. Rule 12(f) plainly allows the Court to “strike from a pleading an insufficient defense.”

Moreover, Trustwave acknowledges that Third Circuit district courts are split on applying the

heightened Twombly/Iqbal standard of “plausibility” to affirmative defenses. See Dann v. Lincoln

Nat’l Corp., 274 F.R.D. 139, 145 n.6 (E.D. Pa. 2011) (“A majority of courts have held that

Twombly’s plausibility standard does apply to affirmative defenses.”). In this case, the same

considerations from Twombly about preventing unnecessary discovery favor applying the



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heightened plausibility standard. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007).

Trustwave’s cases on this point are also distinguishable. For example, Cadence, which Trustwave

cites repeatedly, involved affirmative defenses for patent misuse and disclaimer under 35 U.S.C.

§ 288, and did not address a contract claim alleging rights beyond the terms of the contract itself.

See Cadence Pharm., Inc. v. Paddock Labs., Inc., C.A. No. 11-733-LPS, 2012 U.S. Dist. LEXIS

142585 (D. Del. Oct. 1, 2012).

       Trustwave’s own interpretation of the pleading standard renders its Affirmative Defenses

legally insufficient because they rely on the same unsupported theories in its Counterclaim that

purport to include the ’154 Patent. Indeed, Trustwave’s Eleventh and Twelfth Affirmative

Defenses repeat nearly verbatim the assertions of the Counterclaim. See D.I. 36 (Ans.) at 23-28.

Trustwave does not explain why, if its Counterclaim is deficient under Twombly/Iqbal, those

defenses could pass muster despite repeating the same allegations if the Counterclaim is deficient.

Contrary to Trustwave’s contentions, courts have stricken affirmative defenses based on a license

theory that contains “bare bones conclusory allegations.” See Sun Microsystems, Inc. v. Versata

Enters., 630 F. Supp. 2d 395, 411 (D. Del. 2009) (Farnan, J.) (striking defense of implied license

due to failure to allege consideration and acquiescence).

       CONCLUSION

       This matter involves the ’154 Patent, which is not related to any Licensed Patent.

Trustwave’s allegations regarding the 2012 Contract that does not list the ’154 Patent as a Licensed

Patent should be dismissed. Finjan respectfully requests that the Court dismiss Trustwave’s

Counterclaim for breach of contract with prejudice and strike Trustwave’s Eleventh, Twelfth, and

Thirteenth Affirmative Defenses.




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 Dated: January 29, 2021




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